IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

United States of America
Plaintiff(s),
vs. Case No.: 4:11-cr-00159-CVE-2
Clint Wesley Menzo Lawrence Criminal Information Sheet & Minutes
Defendant(s).
Date: §/22/2025 Interpreter: C0 Yes &J No
Magistrate Judge Steele Deputy Lynn Tiefenthaler USPO Toni Aldridge
Date of Arrest: 5/22/2025 Arrested by: USMS X] Detention requested by AUSA
Bail Recommendation: CL] Unsecured
Additional Conditions of Release Recommendation:
Da. Ob. Oo. Op. Og Or. Os. Ot
Oc Od Oe OF Og. Oh Du(O1l, 02, 03, 04, 05, 06, 07)
Oi Oj. Ok O11 Ov.(Ol, 02,03, 04 05, O06 O7, 08 09, 010)
Om.(Oi, Oii, O iii, 0 iv) Ow.(0 1, 0 2)
On. OC) x. (other)
Defendant requests Federal Public Defender/Ct. Appt. Counsel: Yes C1 No
Defendant’s Attorney: Joel Vandruff CO FPD; & Ct Appt; OO Ret Cnsl;
CJ Counsel not present, to be appt on appearance
AUSA: — Charles Greenough
MINUTES:
Interpreter: ; O Sworn

Defendant appeared in person for IA on: OJ Indictment; 0 Information; D Complaint; & Petition on PTR/SR/Prob; O Rule 5
¥. Financial Affidavit received and FPD/CJA appointed

Defendant verified their name, as reflected in the indictment/information/complaint/petition/Rule 5, is their true and
correct legal name
C) Defendant stated their true and correct name is:

First/Fore-/Given Name(s): Middle Name(s): Last/Sur-/Family Name(s): Suffix
CO Government requested; and O) Court ordered:
ZC Defendant’s name be added as an a/k/a
CJ Defendant’s name be corrected by interlineation to reflect Defendant’s true and correct name as stated in open court
and all previous filings are amended by interlineation to reflect the same
C] Waivers executed and filed: OC of Indictment; O of Preliminary Exam; O of Detention Hearing; LD) of Rule 5 Hearings

XC) Bond set for : Bond and conditions of release executed LJ Did judge grant an oral motion to stay the release order?
QO Arraignment held and Defendant pleads not guilty; Court accepts plea; [0 Scheduling dates to be mailed to counsel
CZ Initial Appearance continued to: at a.m./p.m.

Arraignment scheduled: + \ at m./p.m.

Detention Hearing scheduled: 5| yr) IAD SAID aun(ipm)

Preliminary Exam scheduled: at a.m./p.m.

Defendant detained and remanded to custody of U.S. Marshal:
retin further proceeding;L) Pending release on bond for treatment
C) Defendant to remain released on previous conditions

(Motion for Detention # Je : (1 Granted; 1 Denied; C1 Moot per Defendant’s waiver of detention hearing
CYMotion for Hearing # 14> ees LC) Denied; CO Moot per Defendant’s waiver of detention hearing

Additional Minutes: =

Criminal Information Sheet CR-24 (07/2024)
